Case: 2:19-cv-01976-JLG-CMV Doc #: 119 Filed: 08/03/21 Page: 1 of 18 PAGEID #: 6573




                    IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF OHIO, EASTERN DIVISION


 MENG HUANG,                                    Case No: 2:19-cv-1976
            Plaintiff,
 v.                                             Judge James L. Graham
 THE OHIO STATE UNIVERSITY and
                                                Magistrate Judge: Chelsey M. Vascura
 GIORGIO RIZZONI,
             Defendants.

          DEFENDANTS’ REPLY BRIEF IN SUPPORT OF MOTION FOR SUMMARY
                                  JUDGMENT

        Now come Defendants The Ohio State University and Dr. Giorgio Rizzoni, and for

 their Reply in Support of Motion for Summary Judgment, state as follows:

 I.     Introduction

        Throughout the entirety of this case, Plaintiff has relied on broad allegations and

 bold speculation as a proxy for proof. In her Memorandum in Opposition, she wades even

 farther into these murky waters in the hopes of muddying the issues. This Court should not

 get stuck in this morass.

        As will be more fully demonstrated below, just because this case involves an

 analysis of expansive facts does not mean that there exist any genuine disputes of material

 fact. And while Plaintiff seeks to salvage her claims by alternatively engaging in unfettered

 speculation, misrepresenting the facts which have been established during the exhaustive

 discovery proceedings and misconstruing applicable law, it is not enough to forestall

 summary judgment. Plaintiff fails to meet her affirmative burden as the non-moving party

 to point the Court to facts in the record that create genuine issues of fact with respect to

 her specific claims. As such, her claims must be dismissed as a matter of law.
Case: 2:19-cv-01976-JLG-CMV Doc #: 119 Filed: 08/03/21 Page: 2 of 18 PAGEID #: 6574




 II.      Standard of Review

          A.       Plaintiff is Incorrect that Engaging in Speculation is the Same Thing as a
                   “Reasonable Inference” from Evidence.

          Initially, as Defendants demonstrated in their Memorandum in Support, Plaintiff’s

 claims are in many respects so contradicted by undisputed fact that she cannot possibly

 prevail on them. Rather than confront this directly, Plaintiff seeks to shift the focus by

 claiming that Defendants “ignore the essential standard of review” because Defendants

 cited multiple cases where courts in this circuit have dismissed claims as a matter of law

 for being too implausible and contradicted by record evidence. (MIO, ECF #114, PAGEID #

 6254).        Plaintiff further attempts to claim that dismissal in such a circumstance is only

 appropriate where “video” evidence demonstrates that Plaintiff’s claims are “beyond

 belief.” Id. That is not the law in this circuit. Defendants cite to multiple cases where

 claims have been dismissed based upon indisputable evidence other than video. See, e.g.,

 Gearhart v. E.I. DuPont de Nemours and Co., 833 Fed. App’x. 416, 424 (6th Cir.

 2020)(medical records), Stokes v. Bridgestone Firestone N.A., LLC, 2009 WL 1617731, *7

 (N.D. Ohio June 9, 2009) (business or personnel records) and Mason v. Wal-Mart

 Corporation, 2016 WL 2624960, *9 (S.D. Ohio May 9, 2016) and Mhanna v. AK Steel

 Corporation, 2011 WL 4711902, * 5 (S.D. Ohio Oct. 6, 2011) (testimony of uninterested

 witnesses). The same result should hold here.

          Plaintiff further mischaracterizes Defendants’ position by claiming that Defendants

 are asking the Court to determine issues of credibility versus weighing actual evidence.

 (MIO, ECG #114, PAGEID # 6254).             That characterization is also incorrect. Rather, as

 Defendants have demonstrated, many of Plaintiff’s fundamental allegations are based upon

 speculation or misrepresentation of facts – not evidence in the record.                Plaintiff


                                                  2
Case: 2:19-cv-01976-JLG-CMV Doc #: 119 Filed: 08/03/21 Page: 3 of 18 PAGEID #: 6575




 mischaracterizes her speculation as “reasonable inference,” but that mischaracterization

 does not change this Court’s analysis or save her claims. Id., PAGEID ## 6254-58.

        More precisely, most of Plaintiff’s speculation relates to what she claims is a far-

 flung conspiracy against her stemming from her “rejection” of Dr. Rizzoni’s alleged sexual

 advances toward her and Dr. Rizzoni’s alleged attempts to retaliate against her for doing so.

 For instance:

        ∙ Plaintiff speculates that Dr. Rizzoni and the members of her Ph.D.
        candidacy committee conspired to give her a failing grade on her Ph.D.
        candidacy examination. Id., PAGEID # 6256. The evidence in the record,
        however, in the form of sworn, unrebutted testimony demonstrates that
        the independent members of her committee failed her based upon their
        own objective considerations and they were not influenced by Dr. Rizzoni.
        (Exhibit H to MSJ, Affidavits of candidacy committee members).

        ∙  Plaintiff speculates that the University conspired to dismiss her internal
        complaint of sexual misconduct against Dr. Rizzoni in order to “protect” Dr.
        Rizzoni, a “powerful and influential” faculty member. (MIO, PAGEID##
        6257-58). The evidence in the record, however, in the form of sworn,
        unrebutted testimony, demonstrates that the University investigators had
        never even heard of Dr. Rizzoni and reached their investigative conclusions
        based upon the evidence they discovered and not some undue influence
        related to Dr. Rizzoni. (Hoge Depo., pg. 46, 50; Parry Depo., pg. 66; Brennan
        Depo., pg. 52).

        ∙  Plaintiff speculates that Dr. Rizzoni must have known about her sexual
        misconduct complaint much sooner than he did (which is crucial to
        Plaintiff’s retaliation claims) because he should have construed questions
        about Plaintiff failing her Ph.D. candidacy examination as complaints about
        sexual harassment. (MIO, PAGEID## 6256-57). The evidence in the
        record, however, in the form of sworn, unrebutted testimony,
        demonstrates that Dr. Rizzoni had no knowledge of Plaintiff’s complaint of
        sexual misconduct until December 18, 2018, 5 days after it was made.
        (Rizzoni Depo. Vol. III, pgs. 79-83). As such, any “action” taken with respect
        to Plaintiff prior to Dr. Rizzoni actually learning that Plaintiff filed a
        complaint against him cannot form the basis for any claim for retaliation.

        The Sixth Circuit has repeatedly held that courts reviewing motions for summary

 judgment may draw reasonable inferences from evidence but cannot accept as “evidence”


                                               3
Case: 2:19-cv-01976-JLG-CMV Doc #: 119 Filed: 08/03/21 Page: 4 of 18 PAGEID #: 6576




 speculation or conjecture, especially in cases where the speculation is directly contradicted

 by the record. See, e.g., Jordan v. Kohl’s Department Stores, 490 Fed. Appx. 738, 743 (6th

 Cir. 2021)          ( “. . .   unsubstantiated speculation does not create or support

 a reasonable inference . . . .”).   “When opposing parties tell two different stories, one of

 which is blatantly contradicted by the record, so that no reasonable jury could believe it, a

 court should not adopt the version of the facts for purposes of ruling on a motion

 for summary judgment.” Scott v. Harris, 550 U.S. 372, 380 (2007).

        In short, this Court can and should see Plaintiff’s arguments for what they are—

 extensive speculation unmoored from the facts—and need only rely on the undisputed

 facts, not issues of credibility, to dismiss them accordingly

                B.      Plaintiff Fails to Meet her Affirmative Burden as the Non-Moving
                        Party to Point the Court to Facts in the Record That Create Issues
                        of Fact with Respect to her Specific Claims.

        Notably, Plaintiff relies on the above misdirection because she has not identified any

 actual record facts that create a genuine issue. While the burden is initially on the moving

 party to show the absence of any genuine issues of material fact, Celotex Corp. v. Catrett,

 477 U.S. 317, 323 (1986), the nonmoving party must then present “significant probative

 evidence” to “do more than show that there is some metaphysical doubt as to the material

 facts” to defeat the motion. Moore v. Philip Morris Cos., Inc., 8 F.3d 335, 340 (6th Cir. 1993).

 The non-moving party is under an affirmative duty to point out specific facts in the record

 as it has been established that create a genuine issue of material fact. Fulson v. City of

 Columbus, 801 F. Supp. 1, 4 (S.D. Ohio 1992). In order to defeat summary judgment, a non-

 moving party is required to direct the Court to specific “materials in the record, including

 depositions, documents, electronically stored information, affidavits or declaration,



                                                 4
Case: 2:19-cv-01976-JLG-CMV Doc #: 119 Filed: 08/03/21 Page: 5 of 18 PAGEID #: 6577




 stipulations, admissions, interrogatory answer or other materials” that demonstrate a

 “genuine dispute of material fact.” M.J. v. Akron City School District, 1 F. 4th 436, 445-46 (6th

 Circuit 2021)(Citations omitted). When the nonmovant does not effectively address the

 movant’s assertion of a fact, the district court may “consider the fact undisputed for

 purposes of the motion.” Fed. R. Civ. P. 56(e)(2).

        Plaintiff spent very little time citing the Court to evidence in the record and applying

 the facts to the law. Instead, Plaintiff’s Memorandum in Opposition offers a few bare-bones

 arguments and simply attaches a separate document which she refers to as her

 “Counterstatement of Facts,” with no explanation of how that document creates genuine

 issues of material fact. Either Plaintiff expects the Court to search through the record

 and/or her “Counterstatement of Facts” to locate the facts that she claims support her

 arguments, or she simply seeks to obscure the fact that she cannot make those connections.

 Either way, Plaintiff fails to meet her burden as a matter of law. The Court has no duty

 when deciding a motion for summary judgment to scour the record for evidence that

 supports a plaintiff’s claims. That is the plaintiff’s job. Guarino v. Brookfield Twp. Trustees,

 980 F.2d 399, 404-406 (6th Cir. 1992) (“It is the attorneys, not the judges, who have

 interviewed the witnesses and handled the physical exhibits; it is the attorneys, not the

 judges, who have been present at the depositions; and it is the attorneys, not the judges,

 who have a professional and financial stake in case outcome.” In other words, “the free-

 ranging search for supporting facts is a task for which attorneys in the case are equipped

 and for which courts generally are not.”) See also, Williamson v. Aetna Life Ins. Co., 481 F.3d

 369, 379 (6th Cir. 2007); Viergutz v. Lucent Techs., Inc., 375 F. App'x 482, 485 (6th Cir.

 2010) (citation omitted)(The party opposing summary judgment has a shifting burden and



                                                5
Case: 2:19-cv-01976-JLG-CMV Doc #: 119 Filed: 08/03/21 Page: 6 of 18 PAGEID #: 6578




 “must . . . set out specific facts showing a genuine issue for trial [on each of its claims].”);

 Street v. J.C. Bradford & Co., 886 F.2d 1472, 1479–1480 (6th Cir. 1989)(“[T]he trial court no

 longer has a duty to search the entire record to establish that it is bereft of a genuine issue

 of material fact.”).

        Defendants’ motion for summary judgment should be decided – and granted – based

 upon the non-speculative facts cited by Defendants in the extensive record developed

 through discovery in this case.

 III.   Plaintiff’s Causes of Action

        A.      Plaintiff’s Title VII Sexual Harassment Against OSU Only Fails as a
                Matter of Law.

        Plaintiff’s legal arguments fare no better.      To be clear, Plaintiff alleges sexual

 harassment pursuant to Title VII. (Compl., Section V (C)). Courts recognize two types of

 actionable sexual harassment pursuant to Title VII:         quid pro quo and hostile work

 environment. Meritor Savings Bank v. Vinson, 477 U.S. 57, 106 S. Ct. 2399 (1986). Plaintiff

 claims both forms of sexual harassment in this case. (Compl., ¶¶ 188, 189). Defendant OSU

 has raised an absolute defense to the entirety of Plaintiff’s Title VII sexual harassment

 claims – that her claims are barred by the affirmative defense set forth by the United States

 Supreme Court in the cases of Burlington Industries, Inc. v. Ellerth, 524 U.S. 742, 765 (1998)

 and Faragher v. City of Boca Raton, 524 U.S. 775, 807 (1998).

        Inexplicably, Plaintiff alleges in her Memorandum in Opposition that because OSU

 did not discuss the underlying elements to establish a hostile work environment claim that

 it has “tacit[ly] admi[tted] that summary judgment is inappropriate on this claim.” (MIO,

 PAGEID #6258). Such an assertion is without merit. As Plaintiff is forced to admit, OSU

 “seek[s] summary judgment on the entirety of Plaintiff’s claims.” Id. The University


                                                6
Case: 2:19-cv-01976-JLG-CMV Doc #: 119 Filed: 08/03/21 Page: 7 of 18 PAGEID #: 6579




 thoroughly discussed and addressed the dismissal of Plaintiff’s sexual harassment claims

 pursuant to the Ellerth/Faragher defense in its motion. That defense applies equally to all

 sexual harassment claims, both hostile work environment and quid pro quo. Thornton v.

 Federal Express Corp., 530 F. 3d 451, 457 (6th Cir. 2008). And, as discussed more fully

 below, Plaintiff fails to anchor her bare opposition to applicable facts or law.

               1.      Ellerth/Faragher bars Plaintiff’s sexual harassment claims.

        As previously addressed in Defendants’ motion for summary judgment, an employer

 like OSU may avoid vicarious liability for an employee’s claims of sexual harassment by

 establishing an affirmative defense consisting of the following elements: 1.) there was no

 tangible action taken with respect to the plaintiff’s employment, 2.) that it exercised

 reasonable care to prevent and correct promptly any sexually harassing behavior, and 3.)

 that the plaintiff unreasonably failed to take advantage of any preventive or corrective

 opportunities provided by the employer or to avoid harm otherwise. Deters v. Rock-Tenn.

 Co., Inc., 245 F. App’x 516, 525 (6th Cir. 2007)(Citations omitted). Defendant OSU meets all

 elements of this defense.

                       a.     No tangible employment action.

        Plaintiff claims that she suffered a tangible employment action which defeats the

 Ellerth/Faragher defense in the form of “revocation of Huang’s supplemental stipend,

 removal from the Ford research project and termination of her position as a graduate

 research associate.” (MIO, PAGEID # 6264). Plaintiff’s assertions are without merit.

        First, as previously addressed in Defendants’ motion for summary judgment, Title

 VII is an employment statute. (Title VII prohibits discriminatory practices by “employers.”

 42 U.S.C. ¶ 2000e-2). Plaintiff’s Title IX “sexual harassment” claims, based upon her status



                                                7
Case: 2:19-cv-01976-JLG-CMV Doc #: 119 Filed: 08/03/21 Page: 8 of 18 PAGEID #: 6580




 as a student, have been dismissed by this Court. (Order on MTD, ECF #38, PAGEID # 483-

 84)(Dismissing Plaintiff’s Title IX sexual harassment claims in their entirety.) As such, in

 order to defeat the Ellerth/Faragher defense, Plaintiff must demonstrate a tangible action

 related to her employment, not her student status at the University. She has not and

 cannot do so.

        Plaintiff was a Graduate Fellow (student status) at the University until the end of

 August 2017. (Jeffrey Bons Affidavit, Exhibit S to MSJ, ECF # 12-2). It was during her time

 as a Graduate Fellow that Plaintiff received University credits toward her OSU degree as a

 visiting scholar in 2016 at Ford Motor Company and as an intern in 2017, also at Ford. Id.

 While she received stipends from the University to offset her educational costs during this

 time, she did not receive compensation as an employee of the University until she became a

 Graduate Research Associate in late August, 2017 – after she returned to Ohio from her

 summer internship at Ford. Id.; see also (Compl., ¶¶ 54, 100). So, when Plaintiff claims a

 tangible “employment” action related to the revocation of her supplemental student

 stipend and the termination of her student internship with Ford, she complains of actions

 related to her status as a student, not an employee. Plaintiff provides no evidence to the

 contrary; rather, her opposition seeks only to sow confusion.

        Second, with respect to Plaintiff’s employment as a graduate research associate with

 the University, she claims that her employment was “terminat[ed],” but provides no

 evidentiary support for that bald claim. 1 (MIO, PAGEID# 6264). In fact, Plaintiff continued

 as a Graduate Research Associate under the supervision of her new advisor, Dr. Kumar,

 1  Plaintiff’s Memorandum in Opposition is the very first time Plaintiff has ever alleged that
 her employment as a Graduate Research Associate was “terminated.” She makes no such
 allegation in her Complaint because it is not true. Nor does she provide any factual support
 for this claim.


                                               8
Case: 2:19-cv-01976-JLG-CMV Doc #: 119 Filed: 08/03/21 Page: 9 of 18 PAGEID #: 6581




 until the time of her graduation. (Graduate Associate Appointment, Exhibit T to MSJ). She

 even received a pay raise in the fall of 2018. Id. Again, the undisputed facts flatly

 contradict her unsupported assertions.

                      b.     OSU promptly corrected any alleged sexually harassing
                             behavior.

       Plaintiff further claims that the Ellerth/Faragher defense is inapplicable because

 “[i]ssues of material fact exist as to whether OSU promptly investigated [Huang’s complaint

 and] whether OSU corrected the harassment.” (MIO, PAGEID # 6265). First, conducting a

 “prompt” investigation is not an element of the Ellerth/Faragher defense. That defense

 requires only that the employer “correct promptly any sexually harassing behavior” upon

 receiving a complaint of sexual harassment from an employee. Deters, 245 Fed. App’x at

 525. Even if a “prompt” investigation was an element of the Ellerth/Faragher defense,

 Plaintiff has provided no caselaw or other authority to support a claim that the

 investigation completed by OSU was not prompt. Second, Plaintiff does not dispute that

 OSU promptly corrected any sexually harassing behavior, as she admits: “the investigation

 was promptly initiated [and] OSU separated Huang and Rizzoni and she was not sexually

 harassed by him after December 2017 [the day she complained to OSU].” (MIO, PAGEID #

 6265). Plaintiff, however, goes on to claim that the sexual harassment was not “corrected”

 because she “was not returned to the Ford Research project and she did not graduate from

 the Center for Automotive Research program.”      2   Id.   Again, Plaintiff attempts to add



 2 As fully established by OSU in its Motion for Summary Judgment, there is no such thing as
 “graduating” from CAR. CAR is a research entity. It is not a graduate program within the
 University from which a student could earn a degree. (Rizz. Depo. Vol. III, pgs. 8-9, 13).
 This is a good example of the type of blatant misrepresentation in which Plaintiff
 repeatedly engages in response to Defendants’ Motion for Summary Judgment


                                             9
Case: 2:19-cv-01976-JLG-CMV Doc #: 119 Filed: 08/03/21 Page: 10 of 18 PAGEID #: 6582




 elements to the Ellerth/Faragher defense that do not exist. OSU was required to correct

 “any sexually harassing behavior,” which it clearly did.

                      c.      OSU acted reasonably to prevent sexual harassment on
                              campus.


        Plaintiff next claims that OSU did not act reasonably to prevent sexual harassment

 on campus because it did not “implement mandatory sexual harassment training . . . until

 2017 [and] because it closed its Office of Sexual Empowerment and Civility.” (MIO, PAGEID

 # 6265).       Again, Plaintiff seeks to add additional elements to the well-defined

 Ellerth/Faragher defense. In order to satisfy the “act reasonably to prevent” element of the

 defense, the Sixth Circuit has held that an employer satisfies that prong when it has shown

 that it has a sexual harassment policy that it follows and enforces. While there is no exact

 formula for assessing whether or not a specific sexual harassment policy is adequate, the

 Sixth Circuit has held that “an effective harassment policy should at least: (1) require

 supervisors to report incidents of sexual harassment; (2) permit both informal and formal

 complaints of harassment to be made; (3) provide a mechanism for bypassing a harassing

 supervisor when making a complaint; and (4) provide for training regarding the policy.”

 Clark v. United Parcel Service, Inc., 400 F.3d 341, 349-50 (6th Cir. 2005). The existence of

 such a policy is “strong evidence that the employer took sufficient general measures to

 prevent harassment.” Collette v. Stein-Mart, Inc., 126 Fed. App’x. 678, 685 (6th Cir. 2005).

        It is undisputed that OSU’s policy, both now and at the time of the alleged

 harassment, satisfies all requirements set forth by the Sixth Circuit. (Sexual Misconduct

 Policy, Exhibit M to MSJ). The policy, even as far back as 2014, provided for ongoing

 training within its various divisions, even though campus-wide training was not required at



                                               10
Case: 2:19-cv-01976-JLG-CMV Doc #: 119 Filed: 08/03/21 Page: 11 of 18 PAGEID #: 6583




 that time. With respect to students, the University provided training upon their admission

 on issues of sexual misconduct, provided copies of OSU’s policies with respect to

 investigating and adjudicating claims of sexual misconduct (which are also easily accessed

 on line) and provided ongoing information regarding OSU’s initiatives to combat sexual

 misconduct on campus. (Brennan Depo., pg. 85.)            “Specialized” training on sexual

 harassment and University sexual misconduct polices was provided to international

 students “to ensure that they knew their rights and options.” Id. pgs. 160-61.

        Indeed, Dr. Rizzoni testified that, although he did not participate in campus-wide

 sexual harassment training until 2017, he participated in training on sexual harassment

 and University polices well before then at faculty meetings. ( Rizz. Depo., pg. 111.) He has

 also read the University’s sexual misconduct policy in its entirety and, even before

 mandatory training was initiated by the University, “the faculty and the staff at the

 University understood the basic significance of sexual harassment.” Id. Dr. Rizzoni further

 testified that even before mandatory training was initiated by the University, he was aware

 that “harassment towards an individual related to things such as unwanted sexual

 advances and the like was not an appropriate behavior, not an accepted and tolerated

 behavior.” Id.

                      d.     Plaintiff’s 4-year failure to report is unreasonable.

        As the final element of the Ellerth/Faragher defense, OSU has demonstrated with

 citations to controlling caselaw that Plaintiff’s failure to report the alleged harassment for

 nearly 4 years was unreasonable. (MSJ, pgs. 65-71). Plaintiff baldly claims that she “has

 produced sufficient evidence for a jury to find that it was reasonable for her to fear

 retaliation if she made a complaint,” but fails to describe what that “evidence” is or to cite



                                              11
Case: 2:19-cv-01976-JLG-CMV Doc #: 119 Filed: 08/03/21 Page: 12 of 18 PAGEID #: 6584




 the Court to any record evidence on that topic. (MIO, PAGEID #6266). Defendants will not

 reiterate their arguments on this topic here but direct the Court to the record citations and

 case authority contained in its Motion for Summary Judgment on pages 65 to 71.

 Ultimately, then, none of Plaintiff’s attempted parries succeed, and summary judgment on

 this claim is appropriate.

        B.     Plaintiff’s Title VII and Title IX Retaliation Against OSU Only Fail as a
               Matter of Law.

        Plaintiff’s attempts to salvage her retaliation claims fare no better. Retaliation

 claims under Title VII and Title IX are analyzed under the same framework. Bose v. Bea, 947

 F. 3d 983, 988 (6th Cir. 2020). In order to prevail on a retaliation claim under either

 statute, a plaintiff must demonstrate “that (1) [s]he engaged in protected activity, (2)

 [defendant] knew of the protected activity, (3) [s]he suffered an adverse school-related [or

 employment] action, and (4) a causal connection exists between the protected activity and

 the adverse action.” Id., quoting Gordon v. Traverse City Area Pub. Schs., 686 Fed. App’x 315,

 320 (6th Cir. 2017). The Memorandum in Opposition does not come close to offering a

 legitimate case for her claims moving forward.

               1.      Plaintiff’s alleged protected activity and OSU’s knowledge of it.

        Apparently realizing that many of the actions of Dr. Rizzoni and OSU that Plaintiff

 claims are “retaliation” occurred well before Plaintiff engaged in any “protected activity,”

 Plaintiff once again urges the Court to engage in wholesale speculation to save her claims.

 The only protected activity in which Plaintiff engaged was making her report of sexual

 misconduct to the University on December 12, 2017 and allegedly rejecting Dr. Rizzoni’s




                                              12
Case: 2:19-cv-01976-JLG-CMV Doc #: 119 Filed: 08/03/21 Page: 13 of 18 PAGEID #: 6585




 sexual advances.   3   It is undisputed that Dr. Rizzoni knew nothing of her report until

 December 18, 2017. (Rizzoni Depo., Vol. III, pg. 80). Dr. Rizzoni believed he was meeting

 with University officials on December 18 to discuss the “aftermath of a [candidacy] exam

 failure” and was “quite surprised” to learn a student had complained about sexual

 misconduct. Id. Plaintiff has presented not a shred of evidence, beyond speculation and

 conjecture, that OSU was on notice of her claims of sexual misconduct before December 12,

 2017 or that Dr. Rizzoni was on notice of her claims of sexual misconduct before December

 18, 2017.

        Lacking any record facts to the contrary, Plaintiff instead asks the Court to speculate

 that a jury could “infer” that Dr. Rizzoni “deduced that Huang had discussed [] harassment

 with her Ford supervisor [in November 2017].” (MIO, PAGEID # 6267). Of course, Huang,

 herself admits that she did not discuss any alleged sexual misconduct with Ford until after

 she had complained to OSU in December 2017. (Plf. Depo., pg. 167-73). 4 Further, Plaintiff

 admitted that she told no one of the alleged harassment until after she complained to the

 University (Plf. Depo., pg. 129-30) and Dr. Rizzoni’s undisputed testimony establishes that

 he had absolutely no knowledge related to any complaint of sexual misconduct until




 3  The issues surrounding alleged retaliation for Plaintiff rejecting alleged sexual advances
 is fully discussed in Defendants’ Motion for Summary Judgment on pages 79-82 and will
 not be reiterated here. Plaintiff does not even mention this issue in her Memorandum in
 Opposition – except for the conclusory statement that she “suffered adverse employment
 actions at the hands of [Dr.] Rizzoni after she refused to meet with him in person.” She
 provides no description of the adverse employment actions or citations to evidence to
 support this allegation. (MIO, PAGEID # 6268).

 4 One must question why Plaintiff would suggest that a jury could infer that she told Ford
 about the alleged harassment (at this point in time) when she admits in her sworn
 testimony that she did not.


                                              13
Case: 2:19-cv-01976-JLG-CMV Doc #: 119 Filed: 08/03/21 Page: 14 of 18 PAGEID #: 6586




 December 18, 2017. (Rizzoni Depo., Vol. III, pg. 80). Plaintiff cannot change the facts by

 urging the Court or a jury to engage in speculation. Jordan, 490 Fed. Appx. at 743.

                  2.    Alleged retaliation.

        Because an employer’s knowledge of protected conduct by an employee is an

 essential element of a claim of retaliation, only allegedly retaliatory actions by OSU after

 December 12 or by Dr. Rizzoni after December 18 may be considered to support Plaintiff’s

 claims. Gordon, 686 Fed. App’x at 320. Critically, Plaintiff does not examine the alleged

 retaliatory acts in connection with the timeline of protected activities or in view of the facts

 underlying the acts themselves, and for good reason—doing so definitively disproves her

 claim. Specifically:

              ∙ Plaintiff’sallegations of retaliation include that she “lost her
              [student] stipend, was denied access to her research, was removed
              from the Ford Research Project [and no longer researched at] CAR. ”
              (MIO, PAGEID # 6268). Plaintiff, herself, admits that these actions
              occurred after her failure of the Ph.D. examination but before she
              even filed the university complaint against Dr. Rizzoni, so these
              cannot constitute retaliatory acts. (Plf. Depo., pgs. 277-85).

              ∙ Plaintiff
                        alleges that she “had to wait an additional semester to
              graduate.” (MIO, PAGEID # 6268). Plaintiff’s date of graduation had
              nothing to do with Dr. Rizzoni or the University. Instead, the
              undisputed evidence demonstrates that Plaintiff’s graduation was
              delayed because she had not authored any peer reviewed journal
              publications. (Dr. Kumar Aff., Ex. P to MSJ).

              ∙  Plaintiff alleges that the University conducted a “sham”
              investigation in retaliation for her complaint. (MIO, PAGEID #6268).
              Because an essential element of a retaliation claim is that the
              employee or student suffered an “adverse consequence,” Plaintiff
              cannot maintain a retaliation claim related to the University
              investigation. When Plaintiff was asked in her deposition what
              adverse consequences she suffered as a result of OSU’s investigation,
              she stated 1.) that she “was traumatized,” 2.) Dr. Rizzoni was
              reinstated, 3.) her reputation suffered because students, faculty
              members and staff knew that Dr. Rizzoni was “wholly reinstated,” 4.)


                                               14
Case: 2:19-cv-01976-JLG-CMV Doc #: 119 Filed: 08/03/21 Page: 15 of 18 PAGEID #: 6587




             her physical health suffered, 5.) her graduation was delayed because
             of the “sexual harassment and investigation,” and 6.) she lost job
             opportunities because of Dr. Rizzoni’s influence in the auto industry.
             (Plf. Depo., pgs. 257-61). Plaintiff admits she was assigned a new
             advisor, was given another chance to take her Ph.D. candidacy
             examination and graduated from OSU in 2019. Id., pg. 124. In
             summary, none of the above alleged “consequences” from the
             investigation, even if true, constitute retaliation because none
             “significantly impacted [Plaintiff’s] advancement.” See, e.g., James v.
             Metropolitan Gov't of Nashville, 243 Fed. App’x. 74, 79 (6th Cir. 2007),
             (no retaliation where an employee received bad employment
             evaluations, had been denied a lateral transfer, and had had work
             quotas imposed upon her because none of these had significantly
             impacted her professional advancement); Vaughn v. Louisville Water
             Co., 302 Fed. App’x. 337, 348 (6th Cir. 2008) (although negative
             performance evaluations could be materially adverse actions, a
             plaintiff must show that his salary or professional advancement was
             affected); Hunter v. Secretary of U.S. Army, 565 F.3d 986, 996–97 (6th
             Cir. 2009)(transfer to a different unit not an adverse action where
             the plaintiff did not allege that it had “resulted in significantly
             different responsibilities, a change in benefits, or any other negative
             effect.”); Moore v. Abbott Laboratories, 780 F. Supp. 600, 623 (S.D.
             Ohio 2011)(co-worker’s negative comments about a plaintiff’s
             competency or performance not actionable retaliation).

        Plaintiff’s claims of retaliation under both Title VII and Title IX fail as a matter of

 law.

        C.     Plaintiff’s Claim of Violation of Substantive Due Process Via Sexual
               Harassment Under 42 U.S.C. § 1983 Against Dr. Rizzoni Only Fail as a
               Matter of Law.

        Finally, Plaintiff has invented factual scenarios to support her claim against Dr.

 Rizzoni which are disproven by record evidence, unassailable facts, and indisputable

 testimony of uninterested third parties. Again, “[w]hen opposing parties tell two different

 stories, one which is blatantly contradicted by the record, so that no reasonable jury could

 believe it, a court should not adopt the version of the facts for purposes of ruling on a

 motion for summary judgment.” Scott, 550 U.S. at 380. With respect to this claim against

 Dr. Rizzoni – as with the other causes of action in her Complaint – Plaintiff cites the Court to


                                               15
Case: 2:19-cv-01976-JLG-CMV Doc #: 119 Filed: 08/03/21 Page: 16 of 18 PAGEID #: 6588




 not a single fact, document, or any other evidence in support of this claim in her

 Memorandum in Opposition. Instead, Plaintiff simply declares that she has “produced

 sufficient evidence” or that she has “established that sufficient evidence exists to support

 her claims of sexual harassment and assault” without a single citation to any such record

 evidence. (MIO, PAGEID ## 6269 - 6271). Because the Court is not required to try to figure

 out what, if any, evidence supports her sexual harassment allegation against Dr. Rizzoni,

 her claim should be dismissed on these grounds alone.

        This claim was fully addressed in Defendants’ Motion for Summary Judgment and

 will not be reiterated here except to point the Court to further misrepresentations of the

 record as perpetrated by Plaintiff in her “Counterstatement of Facts.” Plaintiff attempts to

 mislead the Court into believing that other witnesses or record evidence support her claims

 that she was sexually harassed by Dr. Rizzoni when, in fact, the only witness to make such

 allegations is the Plaintiff herself and the overwhelming weight of the evidence clearly

 disproves her claims.

        Plaintiff repeatedly attempts to mislead the Court, by citing to the depositions of

 Jonathan Parry (the OSU human resources professional who investigated her complaint to the

 University) or Dr. Rizzoni to establish that she was inappropriately touched by Dr. Rizzoni.

 For instance, Plaintiff’s Counterstatement of Facts states that Dr. “Rizzoni grabbed and

 rubbed her buttocks,” Dr. Rizzoni “touch[ed] her breasts and buttocks,” Dr. “Rizzoni pulled

 her to him and squeezed her legs between his thighs while he was sitting in his office

 chair.” As evidentiary support for these statements, Plaintiff cites the Court to the

 deposition testimony of Jonathan Parry and Dr. Rizzoni.       (Counterstatement of Facts,

 PAGEID ## 6277-6280). The citations to the depositions of Dr. Rizzoni and Mr. Parry,



                                             16
Case: 2:19-cv-01976-JLG-CMV Doc #: 119 Filed: 08/03/21 Page: 17 of 18 PAGEID #: 6589




 however, do not, in any fashion, support Plaintiff’s claims that she was inappropriately

 touched by Dr. Rizzoni. In fact, Dr. Rizzoni repeatedly and emphatically denied ever

 inappropriately touching Plaintiff. There is not a single word of Dr. Rizzoni’s testimony

 which supports Plaintiff’s claims. (Rizzoni Depo., Vol. III, pg. 81)(All of Plaintiff’s allegations

 are “false”);(Rizzoni Depo., Vol. I, pg. 194, Rizzoni Depo., Vol II, pgs. 50-51)(Denying that he

 ever “grabbed” or “touched” Plaintiff). Further, Mr. Parry could not verify Plaintiff’s claims

 of inappropriate touching even if he wanted to because he was not present during any of

 the alleged touching incidents, and, in fact, specifically concluded that Plaintiff’s allegations

 were not supported by any evidence and were unsubstantiated. (Parry Depo., pg. 85)(OSU

 “investigated Meng’s allegations and did not find sufficient evidence to support her

 allegations.”) Plaintiff’s citations to the depositions of Dr. Rizzoni and Mr. Parry to support

 her claim that she was sexually harassed by Dr. Rizzoni are yet another example of

 Plaintiff’s attempt to create an issue by misconstruing the facts so completely that they are

 rendered undeniably false.

 IV.    Conclusion.

        No reasonable juror could find in favor of Plaintiff, given the overwhelming amount

 of record evidence that undermines her claims and her mischaracterizations of both law

 and fact only emphasize how weak her claims are. Any allegation that a material fact is, or

 is not, in dispute must be supported by the record and cannot consist of speculation or

 inaccurate misrepresentations about what the record states. Fed. R. Civ. P. 56(c)(1). As

 stated by the Sixth Circuit, a “mere ‘scintilla of evidence’ within the record that militates

 against the overwhelming weight of contradictory corroboration does not create a genuine

 issue of fact.”     Bible Believers v. Wayne Cty., Mich., 805 F.3d 228, 242 (6th Cir.



                                                 17
Case: 2:19-cv-01976-JLG-CMV Doc #: 119 Filed: 08/03/21 Page: 18 of 18 PAGEID #: 6590




 2015)(Citations omitted). Plaintiff has failed to demonstrate a triable issue and her claims

 must be dismissed in their entirety.

                                                   Respectfully submitted,

                                                   By: /s/ Christina L. Corl
                                                   Christina L. Corl (0067869)
                                                   Plunkett Cooney
                                                   300 E. Broad Street, Suite 590
                                                   Columbus, OH 43215
                                                   (614) 629-3018
                                                   ccorl@plunkettcooney.com
                                                   Counsel for Defendants




                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 3rd day of August 2021, I filed the foregoing document

 with the Clerk of Court via the Court’s electronic filing system. All parties shall also be

 notified and receive service via electronic mail, through the Court’s ECF system.

                                            /s/ Christina L. Corl
                                            Christina L. Corl (0067869)

 Open.25577.83339.26800943-1




                                              18
